        Case
        Case1:01-cv-12257-PBS
             1:01-cv-12257-PBS Document
                               Document7927-1 Filed11/07/11
                                        7893 Filed  11/21/11 Page
                                                             Page11of
                                                                    of33




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY                         )
AVERAGE WHOLESALE PRICE                               )     MDL No. 1456
LITIGATION                                            )
                                                      )     CIVIL ACTION: 01-CV-12257-PBS
                                                      )
THIS DOCUMENT RELATES TO:                             )     Judge Patti B. Saris
                                                      )
TRACK TWO SETTLEMENT                                  )




                                   NOTICE OF DEPOSITION

         PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 30, the
undersigned counsel will take the deposition of Corinna Connick on November 18, 2011 at 9:30

a.m. The deposition will be recorded by stenographic and/or sound and visual means and will

take place at the offices of Squire, Sanders & Dempsey L.L.P., 4900 Key Tower, 127 Public

Square, Cleveland, Ohio 44114-1304.

         You are invited to attend and participate.


DATED: November 4, 2011                       By    /s/ Steve W. Berman
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001534-16 484045 V1
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        Case1:01-cv-12257-PBS
             1:01-cv-12257-PBS Document
                               Document7927-1 Filed11/07/11
                                        7893 Filed  11/21/11 Page
                                                             Page22of
                                                                    of33




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                                        -2-
001534-16 484045 V1
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        Case1:01-cv-12257-PBS
             1:01-cv-12257-PBS Document
                               Document7927-1 Filed11/07/11
                                        7893 Filed  11/21/11 Page
                                                             Page33of
                                                                    of33



                               CERTIFICATE OF SERVICE

        I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy of
the foregoing, NOTICE OF DEPOSITION, to be delivered to all counsel of record by
electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by sending on
November 4, 2011 a copy to LexisNexis File & Serve for posting and notification to all parties.

                                             /s/ Steve W. Berman
                                            Steve W. Berman




                                                 -3-
001534-16 484045 V1
